Case 2:20-cv-13134-LVP-RSW ECF No. 105, PageID.4334 Filed 01/28/21 Page 1 of 45



                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

 TIMOTHY KING, MARIAN ELLEN
 SHERIDAN, JOHN EARL HAGGARD,
 CHARLES JAMES RITCHARD, JAMES
 DAVID HOOPER, and DARREN WADE                No. 2-20-cv-13134
 RUBINGH,
                                              HON. LINDA V. PARKER
       Plaintiffs,
 v
                                              MAG. R. STEVEN WHALEN
 GRETCHEN WHITMER, in her official
 capacity as Governor of the State of           DEFENDANTS WHITMER
 Michigan, JOCELYN BENSON, in her               AND BENSON’S MOTION
 official capacity as Michigan Secretary of     FOR SANCTIONS UNDER
 State and the Michigan BOARD OF STATE              28 U.S.C. § 1927
 CANVASSERS,

       Defendants,

 CITY OF DETROIT,
      Intervening Defendant,

 ROBERT DAVIS,
     Intervening Defendant,

 DEMOCRATIC NATIONAL
 COMMITTEE and MICHIGAN
 DEMOCRATIC PARTY,

      Intervening Defendants.
 ___________________________________
 Sidney Powell (Texas Bar No. 16209700)
 Attorney for Plaintiffs
 Sidney Powell, P.C.
 2911 Turtle Creek, Blvd
 Dallas, TX 75219
 (517) 763-7499
 sidney@federalappeals.com
Case 2:20-cv-13134-LVP-RSW ECF No. 105, PageID.4335 Filed 01/28/21 Page 2 of 45



 Stefanie Lambert Junttila (P71303)
 Attorney for Plaintiffs
 500 Griswold Street, Suite 2340
 Detroit, MI 48226
 (313) 963-4740
 attorneystefanielambert@gmail.com

 Scott Hagerstrom (P57885)
 Attorney for Plaintiffs
 222 West Genesee
 Lansing, MI 48933
 (517) 763-7499
 Scotthagerstrom @yahoo.com

 Gregory J. Rohl (P39185)
 Attorney for Plaintiffs
 41850 West 11 Mile Road, Suite 110
 Novi, Michigan 48375
 248.380.9404
 gregoryrohl@yahoo.com

 Heather S. Meingast (P55439)
 Erik A. Grill (P64713)
 Assistant Attorneys General
 Attorneys for Defendants
 PO Box 30736
 Lansing, Michigan 48909
 517.335.7659
 meingasth@michigan.gov
 grille@michigan.gov

 David Fink (P28235)
 Attorney for Intervenor City of Detroit
 38500 Woodward Avenue, Suite 350
 Bloomfield Hills, Michigan 48304
 248.971.2500
 dfrink@finkbressack.com

 Mary Ellen Gurewitz (P25724)
 Attorney for Intervenor DNC/MDP
 423 North Main Street, Suite 200
 Royal Oak, Michigan 48067
 313.204.6979
 maryellen@cummingslawpllc.com
Case 2:20-cv-13134-LVP-RSW ECF No. 105, PageID.4336 Filed 01/28/21 Page 3 of 45



 Scott R. Eldridge
 Attorney for Intervenor DNC/MDP
 One Michigan Avenue, Suite 900
 Lansing, Michigan 48933
 517.483.4918
 eldridge@millercanfield.com

 Andrew A. Paterson (P18690)
 Attorney for Intervenor Davis
 2893 East Eisenhower Parkway
 Ann Arbor, Michigan 48108
 248.568.9712
 Aap43@outlook.com
 _______________________________________________________/

  DEFENDANTS WHITMER AND BENSON’S MOTION FOR SANCTIONS
                  UNDER 28 U.S.C. § 1927

         Defendants Governor Gretchen Whitmer and Secretary of State Jocelyn

 Benson,1 move for sanctions and an award of attorneys’ fees pursuant to 28 U.S.C.

 § 1927 for the following reasons:

 1.      Section 1927 states that “[a]ny attorney ... who so multiplies the proceedings

 in any case unreasonably and vexatiously may be required by the court to satisfy

 personally the excess costs, expenses, and attorneys’ fees reasonably incurred

 because of such conduct.” 28 U.S.C. § 1927.

 2.      Under this statute, the attorney’s subjective bad faith is not relevant because

 the court applies an objective standard, and “sanctions under section 1927 [are

 appropriate] when it determines that an attorney reasonably should know that a

 claim pursued is frivolous.” Salkil v. Mount Sterling Tp. Police Dep’t, 458 F.3d

 1
     Defendant Board of State Canvassers does not join in this motion.
Case 2:20-cv-13134-LVP-RSW ECF No. 105, PageID.4337 Filed 01/28/21 Page 4 of 45



 520, 532 (6th Cir. 2006) (quoting Jones v. Continental Corp., 789 F.2d 1225, 1230

 (6th Cir.1986)).

 3.    The imposition of sanctions against Plaintiffs’ counsel is warranted for two

 reasons under this statute.

 4.    First, Plaintiffs’ counsel unreasonably and vexatiously multiplied the

 proceedings in this litigation by failing to dismiss the case when their claims

 became moot, which plainly occurred upon the vote of Michigan’s electors on

 December 14, if not earlier.

 5.    And second, Plaintiffs’ counsel knew or should have known that their legal

 claims were frivolous, but counsel pursued them nonetheless, even after the

 Court’s opinion concluding that Plaintiffs’ were unlikely to succeed on the merits

 of their claims for multiple reasons.

 6.    As a result, this Court should impose sanctions against Plaintiffs’ counsel

 and award attorneys’ fees to Defendants’ counsel, the Michigan Department of

 Attorney General.

 7.    Alternatively, or in addition to § 1927, this Court should exercise its inherent

 authority to sanction Plaintiffs’ counsel and award attorneys’ fees.

 8.    Federal courts have “inherent power to assess attorney’s fees against counsel

 who willfully abuse judicial processes or who otherwise act in bad faith.” Red

 Carpet Studios Div. of Source Advantage, Ltd. v. Sater, 465 F.3d 642, 646 (6th Cir.

 2006).
Case 2:20-cv-13134-LVP-RSW ECF No. 105, PageID.4338 Filed 01/28/21 Page 5 of 45



 9.     Attorney’s fees are appropriate where a court finds: “[1] that the claims

 advanced were meritless, [2] that counsel knew or should have known this, and [3]

 that the motive for filing the suit was for an improper purpose such as harassment.”

 Big Yank Corp. v. Liberty Mut. Fire Ins. Co., 125 F.3d 308, 313 (6th Cir. 1997)

 (internal quotation marks and citations omitted).

 10.    Here, Plaintiffs’ claims of fraud in Michigan’s election were unsupported

 by any credible evidence and their legal claims were without merit for numerous

 reasons, as explained by the Court in its December 7 opinion and order. And

 Plaintiffs’ counsel knew or should have known this to be the case.

 11.    Further, Plaintiffs filed this litigation for an improper purpose. This is

 amply demonstrated by Plaintiffs’ counsels’ filings and the manner in which they

 litigated this case.

 12.    Indeed, it was never about winning on the merits of the claims, but rather

 Plaintiffs’ purpose was to undermine the integrity of the election results and the

 people’s trust in the electoral process and in government.

 13.    The filing of litigation for that purpose is clearly an abuse of the judicial

 process and warrants the imposition of sanctions.

 14.    Concurrence was sought for the relief requested in this motion but was not

 obtained.

        For these reasons and the reasons stated more fully in the accompanying

 brief in support, Defendants Governor Gretchen Whitmer and Secretary of State
Case 2:20-cv-13134-LVP-RSW ECF No. 105, PageID.4339 Filed 01/28/21 Page 6 of 45



 Jocelyn Benson respectfully request that this Honorable Court enter an Order

 granting their motion for sanctions under 28 U.S.C. § 1927 or the Court’s inherent

 authority, and award attorneys’ fees in the amount of $11,071.00 to the Michigan

 Department of Attorney General.

                                             Respectfully submitted,

                                             Dana Nessel
                                             Attorney General

                                             s/Heather S. Meingast
                                             Heather S. Meingast (P55439)
                                             Erik A. Grill (P64713)
                                             Assistant Attorneys General
                                             Attorneys for Defendant
                                             P.O. Box 30736
                                             Lansing, Michigan 48909
                                             517.335.7659
                                             Email: meingasth@michigan.gov
                                             P55439
 Dated: January 28, 2021
Case 2:20-cv-13134-LVP-RSW ECF No. 105, PageID.4340 Filed 01/28/21 Page 7 of 45




                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

 TIMOTHY KING, MARIAN ELLEN
 SHERIDAN, JOHN EARL HAGGARD,
 CHARLES JAMES RITCHARD, JAMES                No. 2-20-cv-13134
 DAVID HOOPER, and DARREN WADE
 RUBINGH,                                     HON. LINDA V. PARKER

       Plaintiffs,                            MAG. R. STEVEN WHALEN
 v
                                                DEFENDANTS WHITMER
 GRETCHEN WHITMER, in her official              AND BENSON’S BRIEF IN
 capacity as Governor of the State of          SUPPORT OF MOTION FOR
 Michigan, JOCELYN BENSON, in her                 SANCTIONS UNDER
 official capacity as Michigan Secretary of         28 U.S.C. § 1927
 State and the Michigan BOARD OF STATE
 CANVASSERS,

       Defendants,

 CITY OF DETROIT,
      Intervening Defendant,

 ROBERT DAVIS,
     Intervening Defendant,

 DEMOCRATIC NATIONAL
 COMMITTEE and MICHIGAN
 DEMOCRATIC PARTY,
      Intervening Defendants.
 ___________________________________
 Sidney Powell (Texas Bar No. 16209700)
 Attorney for Plaintiffs
 Sidney Powell, P.C.
 2911 Turtle Creek, Blvd
 Dallas, TX 75219
 (517) 763-7499
 sidney@federalappeals.com
Case 2:20-cv-13134-LVP-RSW ECF No. 105, PageID.4341 Filed 01/28/21 Page 8 of 45




 Stefanie Lambert Junttila (P71303)
 Attorney for Plaintiffs
 500 Griswold Street, Suite 2340
 Detroit, MI 48226
 (313) 963-4740
 attorneystefanielambert@gmail.com

 Scott Hagerstrom (P57885)
 Attorney for Plaintiffs
 222 West Genesee
 Lansing, MI 48933
 (517) 763-7499
 Scotthagerstrom@yahoo.com

 Gregory J. Rohl (P39185)
 Attorney for Plaintiffs
 41850 West 11 Mile Road, Suite 110
 Novi, Michigan 48375
 248.380.9404
 gregoryrohl@yahoo.com

 Heather S. Meingast (P55439)
 Erik A. Grill (P64713)
 Assistant Attorneys General
 Attorneys for Defendants
 PO Box 30736
 Lansing, Michigan 48909
 517.335.7659
 meingasth@michigan.gov
 grille@michigan.gov

 David Fink (P28235)
 Attorney for Intervenor City of Detroit
 38500 Woodward Avenue, Suite 350
 Bloomfield Hills, Michigan 48304
 248.971.2500
 dfrink@finkbressack.com

 Mary Ellen Gurewitz (P25724)
 Attorney for Intervenor DNC/MDP
 423 North Main Street, Suite 200
 Royal Oak, Michigan 48067
 313.204.6979
 maryellen@cummingslawpllc.com
Case 2:20-cv-13134-LVP-RSW ECF No. 105, PageID.4342 Filed 01/28/21 Page 9 of 45




 Scott R. Eldridge
 Attorney for Intervenor DNC/MDP
 One Michigan Avenue, Suite 900
 Lansing, Michigan 48933
 517.483.4918
 eldridge@millercanfield.com

 Andrew A. Paterson (P18690)
 Attorney for Intervenor Davis
 2893 East Eisenhower Parkway
 Ann Arbor, Michigan 48108
 248.568.9712
 Aap43@outlook.com
                                                                         /



    DEFENDANTS WHITMER AND BENSON’S BRIEF IN SUPPORT OF
         MOTION FOR SANCTIONS UNDER 28 U.S.C. § 1927



                                          Dana Nessel
                                          Attorney General

                                          Heather S. Meingast (P55439)
                                          Erik A. Grill (P64713)
                                          Assistant Attorneys General
                                          Attorneys for Defendants
                                          PO Box 30736
                                          Lansing, Michigan 48909
                                          517.335.7659
                                          meingasth@michigan.gov
                                          grille@michigan.gov
 Dated: January 28, 2021
Case 2:20-cv-13134-LVP-RSW ECF No. 105, PageID.4343 Filed 01/28/21 Page 10 of 45




                                            TABLE OF CONTENTS

                                                                                                                        Page

  Table of Contents ....................................................................................................... i

  Index of Authorities ................................................................................................. iii

  Concise Statement of Issue Presented .......................................................................v

  Introduction ................................................................................................................1
  Statement of Facts ......................................................................................................3
           A.        Michigan certifies the November election. ...........................................3

           B.        Plaintiffs file suit and the Court denies their motion for
                     injunctive relief on numerous grounds. .................................................4
           C.        Plaintiffs continue to press their claims despite the Court’s
                     ruling and subsequent events rendering the case moot. ........................6

  Argument..................................................................................................................11

  I.       Defendants Governor Whitmer and Secretary Benson are entitled to
           sanctions and an award of attorneys’ fees under 28 U.S.C. § 1927
           after Plaintiffs’ counsel unreasonably and vexatiously multiplied the
           proceedings in this frivolous case. Alternatively, this Court should
           exercise its inherent authority to impose sanctions and award
           attorneys’ fees in favor of these Defendants. ................................................11

           A.        Defendants are entitled to sanctions under 28 U.S.C. § 1927.............11

                     1.        Standards for granting sanctions under § 1927.........................11

                     2.        Plaintiffs’ counsel unreasonably and vexatiously
                               perpetuated moot and frivolous claims. ....................................12
           B.        Alternatively, this Court should exercise its inherent authority
                     and award attorneys’ fees to Defendants where Plaintiffs’
                     counsel abused the judicial process.....................................................21

                     1.        Standards for granting fees under the Court’s inherent
                               authority. ...................................................................................21

                                                                i
Case 2:20-cv-13134-LVP-RSW ECF No. 105, PageID.4344 Filed 01/28/21 Page 11 of 45




                    2.       Plaintiffs’ claims were meritless, their counsel should
                             have known this, and their real motive in filing suit was
                             for an improper purpose. ...........................................................22

           C.       This Court should award attorneys’ fees to the Michigan
                    Department of Attorney General. ........................................................27
  Conclusion and Relief Requested ............................................................................30

  Certificate of Service ...............................................................................................31




                                                             ii
Case 2:20-cv-13134-LVP-RSW ECF No. 105, PageID.4345 Filed 01/28/21 Page 12 of 45




                                         INDEX OF AUTHORITIES

                                                                                                                       Page
  Cases
  Big Yank Corp. v. Liberty Mut. Fire Ins. Co. 125 F.3d 308 (6th Cir. 1997) .......5, 22

  Dahnke v. Teamsters Local 695, 906 F.2d 1192 (7th Cir. 1990) ............................16

  In re Ruben, 825 F.2d 977 (6th Cir. 1987) ..............................................................12
  Jones v. Continental Corp., 789 F.2d 1225 (6th Cir. 1986) ..................... 4, 1, 12, 21

  Knorr Brake Corp. v. Harbil, Inc., 738 F.2d 223 (7th Cir. 1984) ...........................21
  McLeod v. Kelly, 810 Mich 120 (1942) ...................................................................18

  Parrish v. Bennett, No. 3:20-CV-275, 2020 WL 7641185 (M.D. Tenn. Dec.
    23, 2020) ...............................................................................................................28
  Red Carpet Studios Div. of Source Advantage, Ltd. v. Sater, 465 F.3d 642
    (6th Cir. 2006) ........................................................................................... 4, 16, 21
  Ruben v. Warren City Sch., 825 F.2d 977 (6th Cir. 1987).......................................16
  Ridder v. City of Springfield, 109 F.3d 288 (6th Cir.1997) ........................ 12, 21, 27

  Salkil v. Mount Sterling Tp. Police Dep’t, 458 F.3d 520 (6th Cir. 2006) ........ 12, 18
  United States v. Perfecto, No. 1:06-cr-20387-JDB-2, 2010 WL 11602757
   (W.D. Tenn. July 21, 2010) ..................................................................................27

  Statutes

  Mich. Comp. Laws § 168.43 ......................................................................................3
  Mich. Comp. Laws § 168.22 ......................................................................................3

  Mich. Comp. Laws § 168.46......................................................................................4

  Mich. Comp. Laws § 168.47 ......................................................................................8

  Mich. Comp. Laws § 168.794a ................................................................................18



                                                              iii
Case 2:20-cv-13134-LVP-RSW ECF No. 105, PageID.4346 Filed 01/28/21 Page 13 of 45




  Mich. Comp. Laws § 168.801 ....................................................................................3

  Mich. Comp. Laws § 168.821 ..............................................................................3, 17

  Mich. Comp. Laws § 168.822 ..............................................................................3, 17
  Mich. Comp. Laws § 168.842(1) ...............................................................................3

  Mich. Comp. Laws § 168.879 ..................................................................................17

  Mich. Comp. Laws § 168.879(1)(c) ..........................................................................3

  Mich. Comp. Laws § 168.879(1)(g) ........................................................................17

  Rules

  L.R. 7.1(e)(1)(B) ......................................................................................................16

  Constitutional Provisions

  28 U.S.C. § 1927 .............................................................................................. passim
  3 U.S.C. § 5 ................................................................................................................5
  3 U.S.C. § 6 ................................................................................................................4

  3 U.S.C. § 7 ................................................................................................................8
  42 U.S.C. § 1983 ........................................................................................................5




                                                               iv
Case 2:20-cv-13134-LVP-RSW ECF No. 105, PageID.4347 Filed 01/28/21 Page 14 of 45




              CONCISE STATEMENT OF ISSUE PRESENTED

       1.    Whether Defendants Whitmer and Benson’s motion for sanctions
             should be granted and an award of attorneys’ fees entered in favor of
             the Michigan Department of Attorney General under 28 U.S.C. §
             1927 or under the Court’s inherent authority to award fees where
             Plaintiffs’ counsel unreasonably multiplied the proceedings in this
             case and abused the judicial process?




                                         v
Case 2:20-cv-13134-LVP-RSW ECF No. 105, PageID.4348 Filed 01/28/21 Page 15 of 45




                                    INTRODUCTION

          An attorney’s ethical obligation of zealous advocacy on behalf of his
          or her client does not amount to carte blanche to burden the federal
          courts by pursuing claims that are frivolous on the merits, or by
          pursuing nonfrivolous claims through the use of multiplicative
          litigation tactics that are harassing, dilatory, or otherwise
          “unreasonable and vexatious.” Accordingly, at least when an attorney
          knows or reasonably should know that a claim pursued is frivolous, or
          that his or her litigation tactics will needlessly obstruct the litigation
          of nonfrivolous claims, a trial court does not err by assessing fees
          attributable to such actions against the attorney. 1

          Plaintiffs’ counsel—Sidney Powell, Stefanie Lambert Junttila, Greg Rohl,

  and Scott Hagerstrom—lost sight of the professional duties owed to this Court and

  to the public in pursuing this litigation. Filed at the eleventh hour and repeating

  allegations of election fraud supported by nothing more than speculation and

  conjecture, Plaintiffs’ counsel pursued legal claims that they knew or should have

  known were frivolous. Further, Plaintiffs’ counsel unreasonably and vexatiously

  extended this case by failing to dismiss when it was clearly moot by their own

  acknowledgement. As a result, imposing sanctions is entirely appropriate and

  warranted in this matter. 28 U.S.C. § 1927.

          This Court also has inherent authority to impose sanctions and award

  attorneys’ fees where counsel pursues frivolous claims and does so for an improper

  purpose. Again, Plaintiffs’ complaint offered nothing more than conspiracy



  1   Jones v. Continental Corp., 789 F.2d 1225, 1230 (6th Cir. 1986).

                                              1
Case 2:20-cv-13134-LVP-RSW ECF No. 105, PageID.4349 Filed 01/28/21 Page 16 of 45




  theories unaccompanied by any actual evidence of fraud affecting the results of

  Michigan’s presidential election. Where their legal claims were frivolous, and the

  timing of the lawsuit and the nature of the relief requested suspect, it is plain

  counsels’ motive in filing suit was improper. This Court recognized as much,

  stating in its earlier opinion that this “lawsuit seems to be less about achieving the

  relief Plaintiffs seek . . . and more about the impact of their allegations on People’s

  faith in the democratic process and their trust in our government.” (ECF No. 62,

  Op. & Order, PageID.3329-3330.)

        The Court was right. The apparent purpose of this case—one of Ms.

  Powell’s “Kraken” lawsuits—was to foment distrust in the process and provide a

  false narrative upon which individuals could advocate for overturning Michigan’s

  vote.2 This was a clear abuse of the judicial process, and Plaintiffs’ counsel should

  be sanctioned as a result.




  2 See Sidney Powell's 'Kraken' Voter Fraud Lawsuits Ridiculed by Legal Experts
  Over Typos, Lack of Evidence, 11/26/20, available at
  https://www.newsweek.com/sidney-powell-kraken-lawsuit-typo-voter-fraud-
  1550534 (accessed January 28, 2021.)

                                             2
Case 2:20-cv-13134-LVP-RSW ECF No. 105, PageID.4350 Filed 01/28/21 Page 17 of 45




                              STATEMENT OF FACTS

        A.     Michigan certifies the November election.

        Michigan, like the other states and the District of Columbia, held an election

  on November 3, 2020 to select electors for president and vice president. See Mich.

  Comp Laws § 168.43.

        Michigan’s city and township clerks began canvassing results immediately

  after the polls closed on November 3. Mich. Comp. Laws § 168.801. The boards

  of county canvassers commenced canvassing two days later, and the 83 county

  boards completed their canvasses by November 17. Mich. Comp. Laws §§

  168.821, 168.822.

        Defendant Board of State Canvassers, a bi-partisan board, see Mich. Comp.

  Laws § 168.22, was required to meet by the twentieth day after the election to

  certify the results. Mich. Comp. Laws § 168.842(1). The Board met on November

  23 and certified the statewide results by a 3-0 vote. 3 President-elect Joe Biden

  defeated President Donald Trump by 154,188 votes. 4 No presidential candidate

  requested a recount within the time permitted. See Mich. Comp. Laws §

  168.879(1)(c).

  3
    See 11/23/20 Draft Meeting Minutes, Board of State Canvassers, available at
  https://www.michigan.gov/documents/sos/112320_draft_minutes_708672_7.pdf,
  (accessed January 28, 2021.)
  4
    See November 2020 General Election Results, available at
  https://mielections.us/election/results/2020GEN_CENR.html., (accessed January
  28, 2021.)

                                            3
Case 2:20-cv-13134-LVP-RSW ECF No. 105, PageID.4351 Filed 01/28/21 Page 18 of 45




        “As soon as practicable after the state board of canvassers has” certified the

  results, the Governor must certify the presidential electors to the Archivist for the

  United States. Mich. Comp. Laws § 168.46; 3 U.S.C. § 6.5 Defendant Governor

  Whitmer certified the electors the same day the Board certified the results. 6

        B.     Plaintiffs file suit and the Court denies their motion for injunctive
               relief on numerous grounds.

        Late in the evening on November 25 and the day before Thanksgiving,

  Plaintiffs, several Republican Party electors and operatives, filed their complaint

  for declaratory and injunctive relief in this Court against Michigan Secretary of

  State Jocelyn Benson, Governor Whitmer, and the Board of State Canvassers.

  (ECF No. 1, PageID.1.) Plaintiffs alleged widespread fraud in the distribution,

  collection, and counting of ballots in Michigan, as well as violations of state law as

  to certain election challengers and the manipulation of ballots through corrupt

  election machines and software. (Id.) Four days later, Plaintiffs filed an amended

  complaint (ECF No. 6, Am. Compl., PageID.872), an emergency motion for

  declaratory and injunctive relief on November 29, 2020 (ECF No. 7, Mot.,

  PageID.1832), and an emergency motion to seal. (ECF No. 8. PageID.1850.)


  5
    Although Michigan’s statute continues to refer to the U.S. Secretary of State,
  under 3 U.S.C. § 6 the Certificate of Ascertainment is sent to the Archivist of the
  United States.
  6
    See Michigan’s Certificate of Ascertainment, available at
  https://www.archives.gov/files/electoral-college/2020/ascertainment-michigan.pdf,
  (accessed January 28, 2021.)

                                            4
Case 2:20-cv-13134-LVP-RSW ECF No. 105, PageID.4352 Filed 01/28/21 Page 19 of 45




  Plaintiffs asserted in their injunctive motion that relief “must be granted in advance

  of December 8, 2020.” (ECF No. 7, Plfs’ Mot, PageID.1846). 7

        Plaintiffs’ amended complaint consisted of over 200 numbered paragraphs

  and over 900 additional pages of affidavits and other documents, in which they

  raised the same litany of perceived fraud and irregularities that had been alleged in

  other Michigan cases and rejected by the courts. (ECF No. 6, Am. Compl.,

  PageID.872.) Plaintiffs alleged three claims pursuant to 42 U.S.C. § 1983: (Count

  I) violation of the Elections and Electors Clauses; (Count II) violation of the

  Fourteenth Amendment Equal Protection Clause; and (Count III) denial of the

  Fourteenth Amendment Due Process Clause. (ECF No. 6, PageID.882.) In Count

  IV, Plaintiffs alleged violations of the Michigan Election Law. (Id.)

        On December 1, motions to intervene were filed by the City of Detroit (ECF

  No. 15, PageID.2090), Robert Davis (ECF No. 12, PageID.1860), and the

  Democratic National Committee and Michigan Democratic Party (“DNC/MDP”).

  (ECF No. 14, PageID.1878.) On December 2, the Court granted the motions to

  intervene. (ECF No. 28, Page ID.2142.) Defendants filed response briefs with

  respect to Plaintiffs’ emergency motions by 8:00 p.m. the same day. (ECF Nos.

  29, 31, 32, 34, 35, 36, 37, 39, 49, 50.)



  7Under federal law, the “safe harbor” provision regarding Michigan’s certification
  of electors was set to activate on December 8. See 3 U.S.C. § 5.

                                             5
Case 2:20-cv-13134-LVP-RSW ECF No. 105, PageID.4353 Filed 01/28/21 Page 20 of 45




        On December 7, 2020, this Court entered an opinion and order denying

  Plaintiffs’ emergency motion for injunctive relief, holding that Plaintiffs failed to

  demonstrate a likelihood of success on the merits of their claims for numerous

  reasons. (ECF No. 62, Op. & Order, PageID.3301–3328.) The Court further

  concluded that the irreparable harm, balance of harm, and public interest factors

  weighed against granting relief. (Id. at PageID.3329.)

        C.     Plaintiffs continue to press their claims despite the Court’s ruling
               and subsequent events rendering the case moot.
        The next day, December 8, Plaintiffs filed a notice of appeal to the Sixth

  Circuit Court of Appeals. (ECF No. 64, PageID.333.) But Plaintiffs did not move

  to expedite their appeal, likely because the State of Texas moved to file an original

  action against Michigan and several other “swing” states in the U.S. Supreme

  Court on December 7, alleging similar allegations of widespread fraud in

  Michigan’s general election, and requesting that the Supreme Court overturn

  Michigan’s certified results. See Texas v. Pennsylvania, et al., 20-22O155. But on

  December 11, the Supreme Court denied Texas’s motion “for lack of standing

  under Article III of the Constitution” because “Texas ha[d] not demonstrated a




                                             6
Case 2:20-cv-13134-LVP-RSW ECF No. 105, PageID.4354 Filed 01/28/21 Page 21 of 45




  judicially cognizable interest in the manner in which another State conducts its

  elections.”8

         Plaintiffs then pivoted and filed a petition for certiorari in the Supreme Court

  on December 11, seeking to bypass review of this Court’s opinion by the Sixth

  Circuit. See U.S. Supreme Court No. 20-815.9 Plaintiffs did not move to expedite

  their petition at that time. 10

         Three days later, on December 14, and as required by law, Michigan’s

  presidential electors “convene[d]” in the State’s capitol and cast their votes for




  8
    See order dated December 11, 2020, in Case No. 20-22O155, available at
  https://www.supremecourt.gov/orders/courtorders/121120zr_p860.pdf (accessed
  January 28, 2021.)
  9
    Docket sheet and filings available at
  https://www.supremecourt.gov/search.aspx?filename=/docket/docketfiles/html/pub
  lic/20-815.html.
  10
      Plaintiffs submitted to the Supreme Court a “preliminary report” of a purported
  forensic exam of a single Dominion Voting Systems tabulator used in Antrim
  County, Michigan, and generated in connection with pending litigation in Bailey v.
  Antrim County, et al., Antrim Circuit Court No. 20-9238. The report was released
  on December 14 and is not part of the record here. But this report has largely been
  repudiated. See Antrim County audit shows 12-vote gain for Trump, 12/17/20,
  The Detroit News, available at
  https://www.detroitnews.com/story/news/local/michigan/2020/12/17/antrim-
  county-audit-shows-12-vote-gain-trump/3938988001/ (accessed January 28, 2021.)
  And Michigan legislators have stated that there is no evidence of fraud perpetuated
  by Dominion Voting Systems. See, e.g., statement by State Senator Ed McBroom,
  available at
  https://www.detroitnews.com/story/news/local/michigan/2020/12/17/antrim-
  county-audit-shows-12-vote-gain-trump/3938988001/ (accessed January 28, 2021).

                                             7
Case 2:20-cv-13134-LVP-RSW ECF No. 105, PageID.4355 Filed 01/28/21 Page 22 of 45




  President-elect Biden. Mich. Comp. Laws § 168.47; 3 U.S.C. § 7. 11 They did so

  under heavy security in light of credible threats of violence that required the capitol

  and other state buildings be closed to the public.12

        On the same day and outside Michigan’s capitol, presidential electors

  selected by the Republican Party, presumably including some of the Plaintiffs

  herein, sought access to the capitol in order to cast alternate votes for President

  Trump. They were not allowed access to the building, however, because there is

  no process for permitting the unsuccessful electors to cast their votes. 13

  Furthermore, leadership for both the Michigan House of Representatives and the

  Michigan Senate had indicated that the results of the election and the presidential

  electors’ must stand under the law.14




  11
     See Michigan’s Certificate of the Votes, available at
  https://www.archives.gov/files/electoral-college/2020/vote-michigan.pdf (accessed
  January 28, 2021.)
  12
     See Michigan Gov. Whitmer Addresses Security Threat to Electoral College
  Vote, 12/14/20, National Public Radio, available at
  https://www.npr.org/sections/biden-transition-
  updates/2020/12/14/946243439/michigan-gov-whitmer-addresses-security-threat-
  to-electoral-college-vote (accessed January 28, 2021.)
  13
     See Michigan Republicans who cast electoral votes for Trump have no chance of
  changing Electoral College result, 12/15/20, MLIVE, available at
  https://www.mlive.com/public-interest/2020/12/michigan-republicans-who-cast-
  electoral-votes-for-trump-have-no-chance-of-changing-electoral-college-
  result.html (accessed January 28, 2021.)
  14 Id.



                                             8
Case 2:20-cv-13134-LVP-RSW ECF No. 105, PageID.4356 Filed 01/28/21 Page 23 of 45




        Days later, on December 18, Plaintiffs moved to expedite their petition for

  certiorari in the Supreme Court and to consolidate it with another pending

  petition. 15 Defendants Whitmer, Benson and the Board filed a response in

  opposition to Plaintiffs’ motion.16

        Back in this Court, on December 22, Defendants Whitmer, Benson and the

  Board, (ECF No. 70, Defs’ Mot. & Brf., PageID.3350-3428), along with

  Intervening Defendants City of Detroit, the DNC and the MDP, filed motions to

  dismiss the case.

        On January 6, 2021, Congress convened in a joint session as required by 3

  U.S.C. § 15 to count the electoral votes of the fifty states and the District of

  Columbia. Despite the shocking events that later occurred, in the early hours of

  January 7, Congress counted Michigan’s 16 electoral votes for President-elect

  Biden. And at the end of the joint session, Mr. Biden was certified the winner and

  the new President. With that declaration, the November 3, 2020, presidential

  election concluded.

        Not surprisingly, the Supreme Court thereafter denied Plaintiffs’ motion to

  expedite their appeal on January 11, 2021 in a short order. 17


  15 Docket sheet and filings available at
  https://www.supremecourt.gov/search.aspx?filename=/docket/docketfiles/html/pub
  lic/20-815.html.
  16 Id.
  17
     Id.

                                             9
Case 2:20-cv-13134-LVP-RSW ECF No. 105, PageID.4357 Filed 01/28/21 Page 24 of 45




           The next day, back in this Court, Plaintiffs requested an extension until

  January 19 to respond to the motions to dismiss, (ECF No. 82), and the City of

  Detroit filed a response in opposition (ECF No. 83). By text order, this Court

  granted Plaintiffs an extension until January 14, 2021.

           On January 14, instead of responding to the motions to dismiss, Plaintiffs

  filed notices of voluntary dismissal under Rule 41 as to all Defendants except

  Robert Davis (who had answered the amended complaint). (ECF Nos. 86 through

  91.) Subsequently, Plaintiffs moved for a voluntary dismissal as to Davis. (ECF

  No. 92.)

           Notably, also on January 14, Defendants Whitmer, Benson, and the Board,

  as well as the City of Detroit, filed responses in opposition to Plaintiffs’ petition in

  the Supreme Court since Plaintiffs had not withdrawn or dismissed that appeal

  despite the vote in Congress seven days earlier. 18

           Defendants Governor Whitmer and Secretary Benson now bring the instant

  motion for sanctions pursuant to 28 U.S.C. § 1927 and the Court’s inherent

  authority to sanction counsel and award attorneys’ fees.19




  18
       Id.
  19
       Defendant Board of State Canvassers does not join in this motion.

                                             10
Case 2:20-cv-13134-LVP-RSW ECF No. 105, PageID.4358 Filed 01/28/21 Page 25 of 45




                                     ARGUMENT

  I.    Defendants Governor Whitmer and Secretary Benson are entitled to
        sanctions and an award of attorneys’ fees under 28 U.S.C. § 1927 after
        Plaintiffs’ counsel unreasonably and vexatiously multiplied the
        proceedings in this frivolous case. Alternatively, this Court should
        exercise its inherent authority to impose sanctions and award attorneys’
        fees in favor of these Defendants.

        Plaintiffs’ counsel, Michigan attorneys Greg Rohl (P39185), Richard Scott

  Hagerstrom (P57885), and Stefanie Lambert Juntilla (P71303), and Texas attorney

  Sydney Powell (Texas Bar No. 16209700), should be sanctioned under 28 U.S.C. §

  1927, and an award of attorneys’ fees be entered in this matter. Alternatively, or in

  addition to § 1927, this Court should impose sanctions and award fees pursuant to

  its inherent authority.

        A.     Defendants are entitled to sanctions under 28 U.S.C. § 1927.
               1.     Standards for granting sanctions under § 1927.
        Defendants seek sanctions under 28 U.S.C. § 1927. That statute states that

  “[a]ny attorney ... who so multiplies the proceedings in any case unreasonably and

  vexatiously may be required by the court to satisfy personally the excess costs,

  expenses, and attorneys’ fees reasonably incurred because of such conduct.” 28

  U.S.C. § 1927. Under this statute, the attorney's subjective bad faith is not relevant

  because the court applies an objective standard, and “sanctions under section 1927

  [are appropriate] when it determines that an attorney reasonably should know that

  a claim pursued is frivolous.” Salkil v. Mount Sterling Tp. Police Dep’t, 458 F.3d


                                           11
Case 2:20-cv-13134-LVP-RSW ECF No. 105, PageID.4359 Filed 01/28/21 Page 26 of 45




  520, 532 (6th Cir. 2006) (quoting Jones v. Continental Corp., 789 F.2d 1225, 1230

  (6th Cir.1986)). “Simple inadvertence or negligence, however, will not support

  sanctions under § 1927.” Salkil, 458 F.3d at 532 (citing Ridder v. City of

  Springfield, 109 F.3d 288, 298 (6th Cir.1997).) “ ‘There must be some conduct on

  the part of the subject attorney that trial judges, applying collective wisdom of their

  experience on the bench could agree falls short of the obligations owed by a

  member of the bar to the court.’ ” Id. (quoting Ridder, 109 F.3d at 298, quoting In

  re Ruben, 825 F.2d 977, 984 (6th Cir. 1987)).

               2.     Plaintiffs’ counsel unreasonably and vexatiously
                      perpetuated moot and frivolous claims.
        In denying Plaintiffs’ emergency motion for declaratory and injunctive

  relief, this Court concluded that the Eleventh Amendment barred Plaintiffs’ claims,

  including their state-law claims; that their claims were moot; that their claims were

  barred by laches; that abstention applied; that Plaintiffs lacked standing to bring

  their equal protection, Electors Clause and Elections Clause claims; and that as a

  result Plaintiffs had no likelihood of succeeding on the merits of their claims.

  (ECF No. 62, Op. & Order, PageID.3301-3328.)

        In addressing mootness, this Court observed, “[t]he time has passed to

  provide most of the relief Plaintiffs request in their Amended Complaint; the

  remaining relief is beyond the power of any court.” Id., PageID.3307. The Court

  summarized the relief Plaintiffs’ requested in their amended complaint:


                                            12
Case 2:20-cv-13134-LVP-RSW ECF No. 105, PageID.4360 Filed 01/28/21 Page 27 of 45




        Plaintiffs ask the Court to: (a) order Defendants to decertify the results
        of the election; (b) enjoin Secretary Benson and Governor Whitmer
        from transmitting the certified election results to the Electoral
        College; (c) order Defendants “to transmit certified election results
        that state that President Donald Trump is the winner of the election”;
        (d) impound all voting machines and software in Michigan for expert
        inspection; (e) order that no votes received or tabulated by machines
        not certified as required by federal and state law be counted; and, (f)
        enter a declaratory judgment that mail-in and absentee ballot fraud
        must be remedied with a manual recount or statistically valid
        sampling. (ECF No. 6 at Pg ID 955-56, ¶ 233.)
  Id., PageID.3308. The Court observed that “[w]hat relief [it] could grant Plaintiffs

  is no longer available.” Id. As the Court recognized, all 83 Michigan Counties

  and the Defendant Board of State Canvassers had certified the election results, and

  Defendant Whitmer had already certified Michigan’s electors before Plaintiffs

  even filed their lawsuit. Id. Further, the time had also run for challenging the

  election based on voting equipment errors and for seeking a recount under

  Michigan’s statutory processes. Id., PageID.3309. Indeed, Plaintiffs could have

  requested a recount under Michigan Election Law, but did not, asking this Court to

  order one instead. As the Court noted, “[a]ny avenue for this Court to provide

  meaningful relief has been foreclosed,” and thus “Plaintiffs’ requested relief

  concerning the 2020 General Election is moot.” Id., PageID.3309-3310.

        The Court rendered this decision on December 7, Plaintiffs filed a notice of

  appeal to the Sixth Circuit on December 8, and then did nothing to advance that

  appeal. (ECF No. 64, PageID.3332.) They waited three days and then filed their



                                           13
Case 2:20-cv-13134-LVP-RSW ECF No. 105, PageID.4361 Filed 01/28/21 Page 28 of 45




  petition for certiorari on December 11, and then waited another seven days to

  move to expedite their petition before the Supreme Court. That was four days after

  Michigan’s electors had voted, an act Plaintiffs sought to enjoin.

        Notably, in their petition for certiorari, Plaintiffs and their counsel

  recognized that their claims would be moot absent expedited consideration by that

  Court. They noted they sought “immediate preliminary relief . . . to maintain the

  status quo so that the passage of time and the actions of [Defendants] do not

  render the case moot, depriving [the Supreme] Court of the opportunity to resolve

  the weighty issues presented herein and [Defendants] of any possibility of

  obtaining meaningful relief.” (Ex. A, Petition w/o exs, p. 1) (emphasis added.)

        Plaintiffs asked the Supreme Court to “exercise its authority to issue the writ

  of certiorari and stay the vote for the Electors in Michigan,” to “stay or set aside

  the results of the 2020 General Election in Michigan,” and to “stay the Electoral

  College Vote[.]” (Id., pp 10, 15-16.) Similarly, they argued that “the Michigan

  results must be decertified, [and] the process for seating electors stayed[.]” (Id., p.

  17.) They requested an “injunction prohibiting the State Respondents from

  transmitting the certified results[.]” (Id., p. 22.) In their conclusion, they asked the

  Supreme Court to enter an emergency order “instructing [Defendants] to de-certify

  the results of the General Election for the Office of President,” or alternatively to

  order Defendants “to certify the results of the General Election for Office of the


                                            14
Case 2:20-cv-13134-LVP-RSW ECF No. 105, PageID.4362 Filed 01/28/21 Page 29 of 45




  President in favor of President Donald Trump.” (Id., p 31.) Plaintiffs expressly

  acknowledged to that Court that “[o]nce the electoral votes are cast, subsequent

  relief would be pointless,” and “the petition would be moot.” (Id., pp. 7, 15)

  (emphasis added.)

        Thus, to the extent the case was not already moot as this Court held on

  December 7, Plaintiffs and their counsel knew that this case would be moot once

  the electors voted on December 14. Yet, that date came and went with no

  acknowledgement by Plaintiffs and their counsel to Defendants or this Court. As a

  result, Defendants Whitmer, Benson and the Board were required to follow

  through with filing a first responsive pleading to Plaintiffs’ amended complaint on

  December 22. Defendants filed a motion to dismiss in lieu of answering. (ECF

  No. 70, Defs’ Mot. & Brf., PageID.3350-3428).

        In response to defense counsel’s e-mail to Plaintiffs’ counsel seeking

  concurrence in their motion to dismiss, Plaintiffs’ counsel Ms. Lambert Junttila

  responded that since “[t]his case is on appeal to the Sixth Circuit and to the United

  States Supreme Court,” Plaintiffs’ counsel was “not in a position to respond to [the

  request for concurrence] until these appeals are decided,” and counsel did “not

  believe [this Court] has jurisdiction to consider [Defendants’] motion while the

  case is on appeal.” (Ex. B, 12/22/20 email.) This statement by Plaintiffs’ counsel

  was of course incorrect since no stay had been entered by this Court, by the Sixth


                                           15
Case 2:20-cv-13134-LVP-RSW ECF No. 105, PageID.4363 Filed 01/28/21 Page 30 of 45




  Circuit, or by the Supreme Court in this case. In fact, Plaintiffs did not move for a

  stay of this case in any court. Plaintiffs’ counsel presumably realized their error as

  they subsequently asked for an extension of time to respond to Defendants’ motion

  on January 12, 2021, (ECF No. 82), the day their response was due under the court

  rule. See L.R. 7.1(e)(1)(B). And then, two days later, Plaintiffs’ counsel filed the

  voluntary dismissal as to Defendants instead of responding—a month after the vote

  of the electors on December 14 and eight days after Congress voted.

        Again, § 1927 sanctions are appropriate where “an attorney objectively ‘falls

  short of the obligations owed by a member of the bar to the court and which, as a

  result, causes additional expense to the opposing party.’ ” Red Carpet Studios Div.

  of Source Advantage, Ltd. v. Sater, 465 F.3d 642, 646 (6th Cir. 2006) (quoting

  Ruben v. Warren City Sch., 825 F.2d 977, 984 (6th Cir. 1987)). Such sanctions are

  intended to “deter dilatory litigation practices and to punish aggressive tactics that

  far exceed zealous advocacy.” Red Carpet Studios, 465 F.3d at 646. Section 1927

  has been interpreted “to impose a continuing duty upon attorneys to dismiss claims

  that are no longer viable.” Dahnke v. Teamsters Local 695, 906 F.2d 1192, 1201 n.

  6 (7th Cir.1990). An attorney who is sanctioned pursuant to this statute must

  “personally satisfy the excess costs attributable to his [or her] misconduct.” Red

  Carpet Studios, 465 F.3d at 646.




                                            16
Case 2:20-cv-13134-LVP-RSW ECF No. 105, PageID.4364 Filed 01/28/21 Page 31 of 45




        Here, Plaintiffs’ case was not well-taken from its inception. As the Court

  noted, Plaintiffs’ requested relief was nearly moot before their case was even filed.

  All votes, in-person or by absentee ballot, had been counted by the local clerks and

  canvassed by the county clerks by November 17, 2020. Mich. Comp. Laws §§

  168.821, 168.822. And once absentee ballots are taken out of their return

  envelopes, there is no longer any way to tie the ballot to the voter who voted it, and

  there is no way to tell an in-person ballot from an absentee voter ballot. The

  ballots become anonymous (unless the ballot was marked as a challenged ballot)

  once they are processed and counted. Again, the county canvasses were all

  completed by November 17.

        The Defendant Board of State Canvassers certified the statewide election

  results on November 23, and the Governor sent the certificates of ascertainment the

  same day. The former President and/or his representatives had until 4:34 p.m. on

  November 25, to file for a recount based on claims of fraud or mistake in the

  canvass. See Mich. Comp. Laws § 168.879.20 Notably, a recount need not be

  requested of the entire state; rather, recounts can be requested in the jurisdictions in

  which fraud or mistake is alleged to have occurred, i.e., Wayne County or the City

  of Detroit. Mich. Comp. Laws § 168.879(1)(g). But no authorized person


  20 Announcement of recount deadlines, 11/23/20, available at
  https://www.michigan.gov/documents/sos/112320_Recount_Announcement_7086
  70_7.pdf (accessed January 28, 2021.)

                                            17
Case 2:20-cv-13134-LVP-RSW ECF No. 105, PageID.4365 Filed 01/28/21 Page 32 of 45




  requested a presidential recount, even though a recount is the mechanism for

  determining errors. See, e.g, McLeod v. Kelly, Mich 120, 129 (1942)

  (acknowledging that the plaintiff claimed mistakes and irregularities occurred in

  conducting an election, but that those were issues “to be determined only by a

  recount”). Instead, Plaintiffs requested that this Court order a recount, even though

  the former President had not requested one. Plaintiffs also requested that the Court

  impound all voting machines. But the cities, townships, and counties all own

  and/or possess custody of their voting machines, see Mich. Comp. Laws §

  168.794a and 794b, Defendants Whitmer, Benson, and the Board, the original

  Defendants, do not have custody or control over any voting machines. So,

  Plaintiffs did not even sue the right parties with respect to that claim for relief.

        There simply was no practical or effective legal relief this Court could

  provide at the time the original complaint was filed on November 25.

  Nevertheless, five days later, Plaintiffs’ counsel filed an amended complaint and

  “emergency” motions for injunctive relief and to file documents under seal on

  November 30. Defendants were ordered to respond to Plaintiffs’ emergency

  motions by 8:00 p.m. on December 2, which Defendants did. Plaintiffs’ counsel

  should reasonably have known by that time that pursuing relief on their claims was

  frivolous. Salkil, 458 F.3d at 532. By filing the amended complaint and the

  emergency motions when this case was already moot, Plaintiffs’ counsel


                                             18
Case 2:20-cv-13134-LVP-RSW ECF No. 105, PageID.4366 Filed 01/28/21 Page 33 of 45




  unreasonably and vexatiously multiplied the proceedings in this matter and caused

  unnecessary expense to the undersigned counsel and the Michigan Department of

  Attorney General.

        And if that was not true by December 2, it was certainly true by December

  14 after Michigan’s electors had voted. As discussed above, Plaintiffs’ counsel

  represented to this Nation’s highest court that their claims would be moot after

  Michigan’s electors voted. But still, Plaintiffs and their counsel did not dismiss

  this case, thereby necessitating the filing of motions to dismiss on December 22.

  Of course, Defendants did so only to have Plaintiffs’ counsel voluntarily dismiss

  the case when it came time for their response. Again, by refusing to timely dismiss

  this case as moot, Plaintiffs’ counsel unreasonably and vexatiously multiplied the

  proceedings and caused unnecessary expense to the undersigned counsel and the

  Department of Attorney General.

        In addition to this case being moot from the beginning (or barred by laches),

  Plaintiffs’ substantive claims were likewise frivolous. As demonstrated by the

  responses to Plaintiffs’ emergency motion for injunctive relief filed by the instant

  Defendants, (ECF No. 31), the City of Detroit, (ECF No. 36,) and the DNC and

  MDP, (ECF No. 39), Plaintiffs’ claims suffered from numerous procedural or

  prudential deficiencies. Further, Plaintiffs simply failed to plead viable Election

  Clause and Electors Clause claims, or equal protection and due process claims.


                                           19
Case 2:20-cv-13134-LVP-RSW ECF No. 105, PageID.4367 Filed 01/28/21 Page 34 of 45




  This Court, given the time that it had, walked carefully through each of these

  issues in denying Plaintiffs’ emergency motion for injunctive relief. (ECF No. 62,

  Op. & Order, PageID.3301-3328.)

        Even if it could be said that Plaintiffs’ counsel did not reasonably know that

  their claims were not well pled at the time the complaints were filed, certainly that

  cannot be true after this Court’s comprehensive December 7 opinion and order.

  Indeed, this Court called Plaintiffs’ and their counsel out multiple times in the

  opinion as to the weakness of their legal claims and the lack of factual support.

        As to the lack of factual support, the Court observed that Plaintiffs’ claims

  of mishandled ballots, improper counting, and vote switching were based on the

  “belief[s]” of various affiants, which are not evidence. (Id., PageID.3326 n 9,

  3327-3328.) “The closest Plaintiffs get to alleging that election machines and

  software changed votes for President Trump to Vice President Biden in Wayne

  County is an amalgamation of theories, conjecture, and speculation that such

  alterations were possible.” (Id., PageID.3327-3328.) The Court concluded that

  “[w]ith nothing but speculation and conjecture that votes for President Trump were

  destroyed, discarded or switched to votes for Vice President Biden, Plaintiffs’

  equal protection claim fail[ed].” (Id., PageID.3328.)

        Nevertheless, Plaintiffs’ counsel pursued the case against Defendants “long

  after it should have become clear that the claims lacked any plausible factual [or


                                            20
Case 2:20-cv-13134-LVP-RSW ECF No. 105, PageID.4368 Filed 01/28/21 Page 35 of 45




  legal] basis.” Ridder, 109 F.3d at 298 (citing Jones v. Continental Corp., 789 F.2d

  1225, 1230 (6th Cir.1986) (citing with approval a Seventh Circuit case affirming §

  1927 sanctions where “an attorney, though not guilty of conscious impropriety,

  ‘intentionally ... [pursues] a claim that lacks plausible legal or factual basis.’ ”)

  (quoting Knorr Brake Corp. v. Harbil, Inc., 738 F.2d 223, 226-27 (7th Cir.1984))

  (alteration in Jones). By pursuing this case after this Court’s December 7 opinion,

  Plaintiffs’ counsel unreasonably and vexatiously multiplied the proceedings and

  caused unnecessary expense to the undersigned counsel and the Department of

  Attorney General.

        Here, counsels’ zealousness clearly clouded their legal judgment and led

  them to engage in tactics that fell far short of the obligations they owed this Court

  as licensed attorneys. Ridder, 109 F.3d at 298. As a result, Defendants Whitmer

  and Benson request that Plaintiffs’ counsel be sanctioned under § 1927.

        B.     Alternatively, this Court should exercise its inherent authority
               and award attorneys’ fees to Defendants where Plaintiffs’ counsel
               abused the judicial process.

        Alternatively, or in addition to § 1927, this Court should impose sanctions

  on Plaintiffs’ counsel pursuant to its inherent authority.

               1.     Standards for granting fees under the Court’s inherent
                      authority.
        Federal courts have “inherent power to assess attorney’s fees against counsel

  who willfully abuse judicial processes or who otherwise act in bad faith.” Red


                                             21
Case 2:20-cv-13134-LVP-RSW ECF No. 105, PageID.4369 Filed 01/28/21 Page 36 of 45




  Carpet Studios, 465 F.3d at 646. Attorney’s fees are appropriate where a court

  finds: “[1] that the claims advanced were meritless, [2] that counsel knew or

  should have known this, and [3] that the motive for filing the suit was for an

  improper purpose such as harassment.” Big Yank Corp. v. Liberty Mut. Fire Ins.

  Co., 125 F.3d 308, 313 (6th Cir. 1997) (internal quotation marks and citations

  omitted).

               2.    Plaintiffs’ claims were meritless, their counsel should have
                     known this, and their real motive in filing suit was for an
                     improper purpose.

        For the reasons already discussed above, Plaintiffs’ claims were meritless,

  and Plaintiffs’ counsel knew or should have known this to be so. Further,

  Defendants submit that Plaintiffs’ and counsels’ motive in filing this suit was for

  an improper purpose. This is amply demonstrated by Plaintiffs’ counsels’ filings

  and the manner in which they litigated this case.

        First, there is the issue of timing. As the Court noted in its laches analysis,

  Plaintiffs “showed no diligence in asserting” their claims, and could have brought

  their claims regarding election challengers, ballot processing or tabulating errors,

  and “glitches” in election machines and software before Election Day or shortly

  thereafter, but certainly before the election results were certified. (ECF No. 62,

  Op. & Order, PageID.3311.) But Plaintiffs proffered “no persuasive explanation as

  to why they waited so long to file this suit.” Id. And “where there is no reasonable



                                           22
Case 2:20-cv-13134-LVP-RSW ECF No. 105, PageID.4370 Filed 01/28/21 Page 37 of 45




  explanation, there can be no true justification.” Id. Indeed, “Plaintiffs could have

  lodged their constitutional challenges much sooner than they did, and certainly not

  three weeks after Election Day and one week after certification of almost three

  million votes.” (Id., PageID.3313.)

        Second, there is the issue of the relief requested. As this Court noted, the

  relief Plaintiffs sought was “stunning it its scope and breathtaking in its reach. If

  granted, the relief would disenfranchise the votes” of millions of Michigan voters.

  (Id., PageID.3296.) Indeed, Plaintiff sought to “undo what ha[d] already occurred”

  with respect to the certification of the election results and the electors, and “[t]o the

  extent Plaintiffs ask[ed] the Court to certify the results in favor of President Donald

  J. Trump, such relief [was] beyond its powers.” (Id., PageID.3306 & n 2.) And

  Plaintiffs sought this relief, despite the fact Michigan’s Election Law provides a

  specific mechanism for challenging results based on fraud or mistake—a recount.

  As the Court observed, “Plaintiffs ask[ed] this Court to ignore the orderly statutory

  scheme established to challenge elections and to ignore the will of millions of

  voters.” (Id., PageID.3330.)

        Third, there is the issue of the factual underpinnings of Plaintiffs’ lawsuit.

  As Defendants noted in their response to Plaintiffs’ emergency motion for

  injunctive relief, virtually all the fraud and irregularities alleged by Plaintiffs to

  have occurred in the City of Detroit or elsewhere were already at issue in pending


                                             23
Case 2:20-cv-13134-LVP-RSW ECF No. 105, PageID.4371 Filed 01/28/21 Page 38 of 45




  state cases, and had been explained and/or rejected by the courts. (ECF No. 31,

  Defs Resp, PageID.2162, 2173, 2191-2203; see also ECF No. 31-2, PageID.2232;

  ECF No. 31-3, PageID.2244; ECF No. 31-7, PageID.2268; ECF No. 31-8,

  PageID.2323; ECF No. 31-10, PageID.2349; ECF No. 31-13, PageID.2410; ECF

  No. 31-15, PageID.2438; ECF No. 31-16, PageID.2452.) The City of Detroit’s

  brief in support of its motion for sanctions fully details this point, (ECF No. 78,

  Detroit Rule 11 Brf, PageID.3644-3649), and Defendants incorporate that

  argument herein. Plaintiffs knew this as they incorporated and relied on some of

  the same affidavits filed in the state-court cases. (See, e.g., ECF No. 6, Amend.

  Compl., PageID.898; ECF No. 6-4; ECF No. 6-6.) And, as noted by the Court,

  many of these affidavits were based on “beliefs” and speculation, not evidence.

  (ECF No. 62, Op. & Order, PageID.3326-3328.)

        Plaintiffs also supported various factual allegations concerning Michigan’s

  election results with alleged “expert” affidavits or reports. (See, e.g., ECF No. 6,

  Amend. Compl.; ECF No. 6-1; ECF No. 6-21; ECF No. 6-22; ECF No. 6-23; ECF

  No. 6-24; ECF No. 6-25; ECF No. 6-26; ECF No. 6-29.) But as the City of Detroit

  sets forth persuasively in its brief, these submissions were lacking in credibility for

  numerous reasons, including the reliance on lies or misapplication or

  misunderstanding of Michigan Election Law and the election results. (ECF No.

  78, Detroit Rule 11 Brf, PageID.3649-3658.) Defendants incorporate that


                                            24
Case 2:20-cv-13134-LVP-RSW ECF No. 105, PageID.4372 Filed 01/28/21 Page 39 of 45




  argument herein as well. It is plain from the record that Plaintiffs’ counsel knew or

  should have known that the factual bases for their claims were frivolous.

        And finally, there is the issue of Plaintiffs’ counsels’ tactics in this case.

  Plaintiffs filed this case minutes before Midnight the day before the Thanksgiving

  Holiday weekend, and then filed the amended complaint with its 900 pages of

  attachments and their emergency motions on Sunday, November 29. Plaintiffs’

  requested relief before December 8. Plaintiffs could not have reasonably believed

  that Defendants Whitmer, Benson, and the Board would have any meaningful

  opportunity to review these filings, including the alleged “expert” filings, and

  retain any experts of their own. And indeed, Defendants did not as they were

  required to respond by December 2. And when Plaintiffs lost their emergency

  motion, they quickly appealed to the Sixth Circuit, but then did nothing in that

  court. Instead taking the unusual step of filing a petition for certiorari in the

  Supreme Court in which they admitted their case would be moot once Michigan’s

  electors voted on December 14.

        But when that day came and went with no relief from the Supreme Court,

  Plaintiffs took no steps to dismiss this case. As a result, Defendants were required

  to respond to the amended complaint by filing a motion to dismiss on December

  22. Plaintiffs’ counsel took the incorrect position that Defendants could not move

  to dismiss because of the pending appeals. Subsequently, Congress convened on


                                             25
Case 2:20-cv-13134-LVP-RSW ECF No. 105, PageID.4373 Filed 01/28/21 Page 40 of 45




  January 6 and 7, accepted Michigan’s electoral votes and declared Mr. Biden the

  new President. But still Plaintiffs took no steps to dismiss any part of this case.

  On January 12, Plaintiffs’ counsel requested an extension for responding to the

  motions to dismiss, which was denied for the most part, and then turned around

  and filed a voluntary dismissal as to Defendants on January 14. The voluntary

  dismissals contained nothing of substance and plainly could have been filed days if

  not weeks earlier. Notably, earlier in the day on the fourteenth, because Plaintiffs

  had not taken steps to dismiss this suit, the undersigned counsel had to respond to

  Plaintiffs’ petition for certiorari in the Supreme Court. And although Plaintiffs’

  counsel has now dismissed the Sixth Circuit appeal, they have taken no steps to

  apprise the Supreme Court of these events.

        Plaintiffs’ pleadings and the way they have litigated this case leads

  inevitably to a conclusion that this matter was filed for an improper purpose. This

  Court recognized as much, stating in its December 7 opinion that “this lawsuit

  seems to be less about achieving the relief Plaintiffs seek—as much of that relief is

  beyond the power of this Court—and more about the impact of their allegations on

  People’s faith in the democratic process and their trust in our government.” (ECF

  No. 62, Op. & Order, PageID.3329-3330.) It was never about winning on the

  merits of Plaintiffs’ claims. Rather, this lawsuit was another attempt by Trump

  loyalists to sow doubt in the integrity of Michigan’s presidential election results,


                                            26
Case 2:20-cv-13134-LVP-RSW ECF No. 105, PageID.4374 Filed 01/28/21 Page 41 of 45




  just as the former President’s supporters attempted to do in other “swing” states.

  Their purpose was to provide like-minded government officials, whether state

  legislators, Congress, or executive branch members, a basis upon which to

  advocate for the rejection of Michigan’s electoral vote. While this effort was

  unsuccessful, the terrible by-product of Plaintiffs’ and their counsels’ efforts is

  reflected in the January 6 insurrection at our Nation’s Capital.

        As Judge Boasberg of the D.C. Circuit stated in another lawsuit challenging

  the election in Michigan and other swing states, “[c]ourts are not instruments

  through which parties engage in [ ] gamesmanship or symbolic political gestures.”

  (Ex. C, 1/4/21 Opinion, Wisconsin Voters Alliance, et al v. Vice President Michael

  R. Pence, et al.) But that is precisely what Plaintiffs and their counsel have done

  here. This Court should therefore exercise its inherent authority and impose

  sanctions against Plaintiffs’ counsel.

        C.        This Court should award attorneys’ fees to the Michigan
                  Department of Attorney General.

        Defendants Whitmer and Benson request that this Court award the

  Department of Attorney General $11,071.00 in attorneys’ fees as a sanction for the

  reasons stated above.21 The undersigned counsel, Assistant Attorneys General


  21 Attorney'sfees are available under § 1927, regardless of whether a party is
  represented by private counsel or the government. See, e.g., Ridder, 109 F.3d at
  298-99; United States v. Perfecto, No. 1:06-cr-20387-JDB-2, 2010 WL 11602757,
  at *2 (W.D. Tenn. July 21, 2010) (denying a motion to set aside costs that had

                                            27
Case 2:20-cv-13134-LVP-RSW ECF No. 105, PageID.4375 Filed 01/28/21 Page 42 of 45




  (AAGs) Meingast and Grill, have attached declarations in support of the request

  for fees. (Ex. D, Meingast Dec; Ex. E, Grill Dec.) While this case has not required

  the filing of numerous pleadings by defense counsel, given the length and

  complexity of Plaintiffs’ filings, the novel claims and unprecedented relief

  requested, the case has involved significant review, research, and drafting.

        Plaintiffs’ November 25 complaint was 211 paragraphs long, and the total

  filing consisted of 830 pages, which included numerous exhibits for which no

  separate index or description was provided. (ECF No. 1, PageID.1-830.)

  Plaintiffs’ amended complaint, filed November 29, was 233 paragraphs long, and

  the filing consisted of 960 pages. (ECF No. 6, Amend. Compl., PageID.872-

  1831.) Again, there were numerous exhibits with no index and no tabs or

  markings. Id. On the same day, Plaintiffs filed their emergency motion for

  declaratory and injunctive relief, which mercifully, if not surprisingly, was only 16

  pages long. (ECF No. 7, Plfs Mot, PageID.1832.) These filings required

  significant review by defense counsel, which was exacerbated by Plaintiffs’

  disorganized filings.

        Plaintiffs’ unique Electors Clause and Elections Clause claims required

  research, along with the vote dilution and substantive due process claims. The


  previously been awarded to the government); Parrish v. Bennett, No. 3:20-CV-
  275, 2020 WL 7641185, at *5 (M.D. Tenn. Dec. 23, 2020).



                                           28
Case 2:20-cv-13134-LVP-RSW ECF No. 105, PageID.4376 Filed 01/28/21 Page 43 of 45




  many deficiencies presented in Plaintiffs’ filing required research on defenses, like

  standing, abstention, and the Eleventh Amendment. And given the short time

  frame Defendants were afforded for responding to Plaintiffs’ motion, it was

  necessary for both undersigned counsel to work on the response and divide tasks.

  Defendants’ response was 55 pages long and included over 200 pages in exhibits.

  (ECF No. 31, Defs Resp, PageID.2162-2458.) The deficiencies in Plaintiffs’ legal

  and factual claims raised numerous issues and defenses, and constitutional claims

  almost always require more full and complex analysis. And in the end, this Court

  agreed, in some manner, with every single argument raised in Defendants’

  response in its December 7 opinion and order. (ECF No. 62, Op. & Order.)

        As discussed above, Defendants, through the undersigned counsel, were

  required to file a first responsive pleading to the amended complaint. Defendants

  filed a motion to dismiss in lieu of an answer. (ECF No. 70, Defs Mot & Brf to

  Dismiss, PageID.3350-3427.) And while much of the research and drafting for this

  motion could be taken from Defendants’ prior response, the motion and brief still

  required defense counsel to incorporate the Court’s December 7 opinion and order,

  modify the legal arguments, and update other areas of the brief. This motion and

  brief were 62 pages in length.

        In addition to these filings, defense counsel performed other small tasks,

  such as responding to the motion to seal, communicating with clients, and


                                           29
Case 2:20-cv-13134-LVP-RSW ECF No. 105, PageID.4377 Filed 01/28/21 Page 44 of 45




  reviewing the City of Detroit’s motion for sanctions and filing a concurrence in

  that motion, which were necessary and reasonable under the circumstances.

         The undersigned counsel have practiced for 23 years (AAG Meingast) and

  19 years (AAG Grill), respectively, and are senior attorneys within the Department

  of Attorney General. Both have significant experience in litigating election cases

  in state and federal court. An hourly rate for AAG Meingast of $395 and an hourly

  rate of $375 for AAG Grill is reasonable in light of their experience and is

  consistent with the rates charged by election attorneys practicing in the Lansing

  area. 22

         Based on the above, Defendants request $11,071.00 in attorneys’ fees be

  awarded to the Michigan Department of Attorney General.

                   CONCLUSION AND RELIEF REQUESTED

         For all of the reasons discussed above, Defendants Governor Gretchen

  Whitmer and Secretary of State Jocelyn Benson respectfully request that this

  Honorable Court enter an Order granting their motion for sanctions under 28

  U.S.C. § 1927 or the Court’s inherent authority, and award attorneys’ fees in the

  amount of $11,071.00 to the Michigan Department of Attorney General.




  22See State Bar of Michigan’s 2020 Economics of Law Practice in Michigan
  Survey, p 55, https://www.michbar.org/file/pmrc/articles/0000156.pdf, (accessed
  January 28, 2021.)

                                           30
Case 2:20-cv-13134-LVP-RSW ECF No. 105, PageID.4378 Filed 01/28/21 Page 45 of 45




                                             Respectfully submitted,

                                             DANA NESSEL
                                             Attorney General

                                             s/Heather S. Meingast
                                             Heather S. Meingast (P55439)
                                             Erik A. Grill (P64713)
                                             Assistant Attorneys General
                                             Attorneys for Defendants
                                             P.O. Box 30736
                                             Lansing, Michigan 48909
                                             517.335.7659
                                             Email: meingasth@michigan.gov
                                             P55439
  Dated: January 28, 2021
                            CERTIFICATE OF SERVICE

  I hereby certify that on January 28, 2021, I electronically filed the above
  document(s) with the Clerk of the Court using the ECF System, which will provide
  electronic copies to counsel of record.

                                             s/Heather S. Meingast
                                             Heather S. Meingast (P55439)
                                             Assistant Attorney General
                                             P.O. Box 30736
                                             Lansing, Michigan 48909
                                             517.335.7659




                                        31
